           Case 3:21-cv-05071-RSM-BAT Document 32 Filed 11/19/21 Page 1 of 2



 1
                                                       CHIEF JUDGE RICARDO S. MARTINEZ
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                                 UNITED STATES DISTRICT COURT
 8                              WESTERN DISTRICT OF WASHINGTON
 9                                        AT TACOMA

10   JOSHUA G. FRANKLIN, SR.,                        No. 3:21-cv-05071-RSM-BAT
11                 Plaintiff,                        ORDER GRANTING DEFENDANTS K.
12                                                   VANDENBERG, A. RICE, M. PAULUS
     vs.                                             AND KERRI TAFT’S MOTION TO
13                                                   EXTEND DISCOVERY
     JOHN ACKERMAN, et al.,
14
                   Defendant.
15                                                   Hearing Date: October 29, 2021

16          THIS MATTER having come on for hearing BEFORE THE UNDERSIGNED Judge of
17
     the above entitled court upon Defendants K. Vandenberg, A. Rice, M. Paulus And Kerri Taft’s
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     Motion to Extend Discovery and the court being otherwise fully advised in the premises, it is
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     now, therefore,
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21          IT IS HEREBY ORDERED:

22          1.     Defendants K. Vandenberg, A. Rice, M. Paulus And Kerri Taft’s Motion to
23
     Extend Discovery Dkt. 17, is GRANTED. The Pretrial Scheduling Order in this matter is
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     amended so that all discovery in this case must be completed by March 4, 2022.
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     //
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27   //

28   //


      ORDER GRANTING DEFENDANTS K. VANDENBERG, A. RICE, M. PAULUS
      AND KERRI TAFT’S MOTION TO EXTEND DISCOVERY – 1
           Case 3:21-cv-05071-RSM-BAT Document 32 Filed 11/19/21 Page 2 of 2



 1          DATED this 19th day of November, 2021.
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                                              A
                                              RICARDO S. MARTINEZ
 6                                            CHIEF UNITED STATES DISTRICT JUDGE

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 8

 9   Presented by:

10
     FOX BALLARD PLLC
11

12

13   _________________________________
      Jonathan Ballard, WSBA No. 48870
14    Ross C. Taylor, WSBA No. 48111
      Attorneys for Defendant K. Vandenberg, A.
15    Rice, M. Paulus and Kerri Taft
16

17    Approved as to Form:
      PRO SE PLAINTIFF
18

19
     _________________________________
20
      Joshua G Franklin, Sr
21
      PRO SE PLAINTIFF

22   Approved as to Form:
23
     CLARK COUNTY PROSECUTING
     ATTORNEY'S OFFICE
24

25
     _________________________________
26    Amanda M. Migchelbrink, WSBA No. 34223
      Attorney for Defendants K Beltran, Chuck
27    Atkins, Ric Bishop, Songer, Shoemaker
28



      ORDER GRANTING DEFENDANTS K. VANDENBERG, A. RICE, M. PAULUS
      AND KERRI TAFT’S MOTION TO EXTEND DISCOVERY – 2
